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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

    TIMOTHY KING, et al.,
    Plaintiffs,

    v.
                                                     Case No. 20-cv-13134
    GRETCHEN WHITMER, in her                         Hon. Linda V. Parker
    official capacity as Governor of the
    State of Michigan, et al.,
    Defendants,

    and

    ROBERT DAVIS, et al.,
    Intervenor Defendants.


                     NOTICE OF VOLUNTARY DISMISSAL

         Plaintiffs Timothy King, Marian Ellen Sheridan, John Earl Haggard, Charles

James Ritchard, James David Hooper, and Daren Wade Rubingh herby note their

dismissal of this matter, without prejudice, as to the following defendants and

intervenors: Gretchen Whitmer, Jocelyn Benson, the Michigan Board of State

Canvassers, the City of Detroit, the Democratic National Committee, and the

Michigan Democratic Party.1 None of these defendants or intervenors filed an



1
 Plaintiffs will file a Motion for Voluntary Dismissal as to the Intervenor
Defendant Davis pursuant to Fed. R. Civ. P. 41(a)(2). Davis filed an Answer to the
Amended Complaint, so the dismissal as to him is brought by motion rather than
notice.
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answer or motion for summary judgment and dismissal by notice pursuant to Federal

Rule of Civil Procedure 41(a)(1) is therefore appropriate.



                                       Respectfully submitted,

                                       _/s/_Stefanie Lynn Junttila_____________
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                        CERTIFICATE OF SERVICE

      I hereby certify that on January 14, 2021, a true and genuine copy of the

foregoing was served via electronic mail by the Court’s CM/ECF system to all

counsel of record.


                                _/s/_Stefanie Lynn Junttila_____________
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